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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE, LLC a/k/a
COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY, 1:17 Civ.4327 (LLS) (RWL)
Plaintiffs, |
-against- AFFIDAVIT OF

CARLEEN J. GASKIN, CPA/CFF
DAVID GITMAN, ACCEL COMMERCE, LLC,
DALVA VENTURES, LLC, KONSTANTYN
BAGAIEV, OLESKSII GLUKHAREV and
CHANNEL REPLY, INC.,
Defendants.
Xx

 

I, CARLEEN J. GASKIN, hereby declare as follows:

1. Iam a partner of Withum Smith and Brown, P.C. (“Withum”) who has been engaged by
Michael Dardashtian, individually and on behalf of Cooper Square, LLC a/k/a Cooper Square
Ventures, LLC (“CSV”), NDAP, LLC (“NDAP”) and ChannelReply (collectively, the “Plaintiff
Companies”) to conduct a valuation of the Plaintiff Companies as well as Defendant David
Gitman’s right, title and interest in the Plaintiff Companies that are the subject of the above
captioned-matter. I am aware that this Affidavit is being submitted in support of Plaintiffs’
motion for summary judgment.

2. By way of written report dated May 30, 2020, I prepared a detailed analysis in
conformity with the Statement of Standards for Valuation Services No. 1 (“SSVS”) of the
American Institute of Certified Public Accountants (the “Report”). A true and accurate copy of

the Report is annexed hereto as Exhibit A.
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3. [have been recognized as an expert in the Superior Court of the State of New J ersey and
the Supreme Court of the State of New York concerning forensic accounting services, business
valuations, forensic investigations, cash flow and spending analyses, and/or asset tracing
analyses. A list of relevant cases are annexed to the Report at Appendix D.

4. Ihave over twenty (20) years’ experience in public accounting. I am certified in Financial
Forensics and I am a member in good standing of the American Institute of Certified Public
Accountants, the New Jersey Society of Certified Public Accountants and the Institute of
Business Appraisers.

5. I understand that my role in both preparing this Report and in giving evidence, is to assist
this Court, if necessary, to understand the value of the Plaintiff Companies and/or Defendant
Gitman’s membership interest in the Plaintiff Companies, and to understand the evidence or to
determine facts that may be in issue. The reported analyses, opinions and conclusions contained
in the Report are limited by the reported assumptions and limiting conditions, and are based
solely on Withum’s unbiased professional analyses, opinions and conclusions.

6. Ihave endeavored in the Report to be accurate and complete, and have addressed matters
that I regard as being material to the opinions expressed therein, including the assumptions made,
the bases for Withum’s opinion, and the methods that Withum has employed in reaching those
opinions. The documents reviewed by Withum are identified in the Report at Appendix A.
Withum’s Assumptions and Limiting Conditions are annexed to the Report as Appendix B.

7. Neither I, nor any of my colleagues at Withum who assisted in the preparation of this
Report, its analyses, opinions, and conclusions, have any present or prospective interest in the

Plaintiff Companies, and have no personal interest or bias with respect to any of the parties
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involved in the above-captioned matter. Withum’s Certification is annexed to the Report at
Appendix C.

8. Ihave used my best efforts in the drafting of the Report and the disclosures, and will use
my best efforts with respect to any evidence that I am called to give, to express opinions within
those areas in which I have been offered or qualified, and to confirm the qualifications to all
opinion(s) contained in the Report.

I declare under penalty of perjury that the foregoing is true and accurate.

August 12, 2020

Carleen J. Gaskin, GyA/CRE

Sworn to before me this (EY ay,
August, 2020 -

Notary Public :

CHRISTINA M. GIORGIO
NOTARY PUBLIC OF NEW JERSEY
My Commission Expfres 7/8/2022

 
